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                      UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                 CHAPTER 13 PLAN (Individual Adjustment of Debts)

                                                                                      CASE NO.: 11-37510-RAM

                                        1st         Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)
                                                    Modified Plan (Indicate 1st, 2nd, etc. amended, if applicable)

DEBTOR: Miguel Valverde                                                      CO-DEBTOR: Ivon Valverde
Last Four Digits of SS# xxx-xx-2812                                          Last Four Digits of SS# xxx-xx-2821

     This document is a plan summary. Additional data on file in clerk’s office attached to original plan.

MONTHLY PLAN PAYMENT: Including trustee’s fee not to exceed 10% and beginning 30 days from filing/conversion date,
Debtor(s) to pay to the trustee for a period of 60      months: In the event the Trustee does not collect the full 10%, any portion not
collected will be paid to creditors’ pro-rata under the plan:
              A.        $ 364.82       for months 1         to 60 ;
              B.        $                 for months               to______;
              C.        $                 for months               to          in order to pay the following creditors:

Administrative:              Attorney’s Fee    $ 3,750.00 + $500.00 (Motion to Value) = $4,250.00
                             TOTAL PAID        $2,500.00
                             Balance Due       $ 1,700.00   payable $ 141.67 month (Months        1            to 12 )

Secured Creditors: [Retain Liens pursuant to 11 U.S.C. § 1325 (a)(5)] Mortgages(s)/Liens on Real or Personal Property:

1. n/a                                                  Arrearage on Petition Date $
Address                                                 Arrears Payment $             /month (Months               to      )
                                                        Arrears Payment $             /month (Months                 to     )
                                                        Regular Payment $            /month (Months                 to     )

2.                                                      Arrears Payment       $ _______
                                                        Arrears Payment       $         /month (Months          to     )
____________________________________                    Regular Payment       $         /month (Months         to      )
                                                        Arrears Payment        $         /month (Months        to     )

          IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING
          YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION (UTILIZING LOCAL FORM MOTION TO
          VALUE COLLATERAL IN PLAN) WILL ALSO BE SERVED ON YOU PURSUANT TO BR 7004 and LR 3015-3.

                                      Value of           Rate of                                                                Total Plan Payments
         Secured Creditor                                                    Plan Payments          Months of Payments
                                      Collateral         Interest
 Bank United
 Loan No. xxxxx9555                Homestead Property        0%                    N/A                       N/A                       N/A
 Prop Add: 14551 SW 176th Terr       $120,949.00
 Miami, FL 33177

Priority Creditors: [as defined in 11 U.S.C. §507]

1. n/a                                         Total Due $
                                               Payable $                /month (Months       to    )

Unsecured Creditors: Pay $ 186.67 month (Months          1        to    12   ). Pay $328.34/mo (Mos 13 to 60)

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above :The debtors are paying Seterus (Loan#xxxx5847) directly outside the plan.


I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

/s/ Robert Sanchez, Esq.
Attorney for debtors
Date: 03/13/12
